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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 ANDREW SCHWARTZBERG,

                                      Plaintiff,                      DEFAULT JUDGMENT

        against                                                     Civ. Action No.: 1:20-cv-01880

 CHET MINING CO, LLC and CHET STOJANOVICH,

                                      Defendants.

       This action having been commenced on March 3, 2020 by the filing of the Summons and

Complaint, and a copy of the Summons and Complaint having been personally served on the

defendant, Chet Mining Co. LLC on March 10, 2020 by personally delivering the Summons and

Complaint to the New York State Department of State as said defendant’s agent pursuant to N.Y.

Limited Liability Company Law §304 and thereafter mailing a copy of the Summons and

Complaint to Chet Mining Co. LLC on March 27, 2020, and served on the defendant Chet

Stojanovich on March 12, 2020 by affixing a copy of the Summons and Complaint to the door of

his residence and thereafter mailing a copy of same to his place of residence on March 18, 2020

pursuant to N.Y. C.P.L.R. §304(4), and a proof of said service on each of the defendants having

been filed on April 22, 2020 (ECF Doc. #11), and the defendants not having answered the

Complaint, and the time for answering the Complaint having expired, it is

       ORDERED,       ADJUDGED        AND      DECREED:      That   the     plaintiff   ANDREW

SCHWARTZBERG have judgment against defendants CHET MINING CO, LLC and CHET

STOJANOVICH, jointly and severally, in the liquidated principal amount of Five Hundred One

Thousand Six Hundred Seventy-Two and 00/100 Dollars ($501,672.00) with prejudgment interest

from May 22, 2019 through May 27, 2020 at a rate of 9% per annum in the amount of Forty-Five

Thousand Eight Hundred Ninety-Two and 70/100 Dollars ($45,892.70), plus costs and

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disbursements of this action in the amount of Six Hundred Eight and 00/100 Dollars ($608.00)

amounting in all to Five Hundred Forty-Eight Thousand One Hundred Seventy-Two and 70/100

Dollars ($548,172.70).

Dated: New York, New York
       ____________________

So Ordered:   New York, New York                 ____________________________
                                                 Hon. Lewis J. Linman
                                                 District Judge




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